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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                            *
                                                    *
v.                                                  *          Crim. No. CCB-10-336
                                                    *
KIMMER BAKER                                        *
                                                    *
*    *   *   *   *   *   *   *   *   *   *    *   * * *   *   *   *   *   *   *   *   *   *   *   *   *

                                             MEMORANDUM

         Kimmer Baker is a federal prisoner who is serving a 160-month sentence for drug

trafficking offenses not involving firearms. Now pending is Baker’s motion for a reduced

sentence pursuant to Section 404 of the First Step Act. (ECF 1048). The government opposes the

motion, (ECF 1055), and Baker has replied, (ECF 1064). For the reasons explained below, the

motion will be denied.

                                             BACKGROUND

         On June 16, 2010, Baker was one of 22 defendants charged in an indictment arising from

a drug trafficking conspiracy in the Gilmor Homes Housing Projects in Baltimore, Maryland.

(See ECF 2 (Indictment)). On December 15, 2010, Baker was charged in three counts of the 24-

count Superseding Indictment with conspiracy to distribute and possess with intent to distribute

50 grams or more of crack cocaine, 5 kilograms or more of cocaine, and a detectable amount of

heroin, in violation of 21 U.S.C. §§ 846 and 860 (Count One), as well as individual sales of

small amounts of crack cocaine on two different dates (Counts Thirteen and Fourteen). (See ECF

345 (Superseding Indictment)).

         Baker pled guilty to Count One, and Counts Thirteen and Fourteen were dismissed upon

motion of the government. (See ECF 777 (Judgment)). Count One carried a base offense level of




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32, and a two-level increase applied because the drug distribution involved a “protected location”

within the meaning of U.S.S.G. § 2D1.2. (Presentence Report (“PSR”) ¶¶ 13–14, ECF 1070).

Baker also qualified as a career offender under U.S.S.G. § 4B1.1 due to several prior convictions

for distribution of controlled substances. (Id. ¶ 23). After a three-level decrease for acceptance of

responsibility, Baker’s final offense level was 31. (Id. ¶¶ 24–25). Baker was in criminal history

category VI, and his resulting guidelines range was 188–235 months’ imprisonment. (Id. ¶ 66).

At the sentencing hearing, however, the government recommended a below-guidelines sentence

of 160 months based in part on Baker’s role in the conspiracy, which the government described

as being “one of the street salespeople,” and “not a leader or an organizer.” (Sent’g Tr. at 8:5–23,

9:14–10:8, ECF 811). On February 28, 2012, the court imposed a sentence of 160 months’

imprisonment on Count One, followed by an eight-year term of supervised release. (ECF 777).

Baker’s projected release date is in January 2022.

       In December 2018, Congress enacted the First Step Act. See Pub. L. No. 115-291, 132

Stat. 5194 (2018). The First Step Act provides, inter alia, for broader application of the Fair

Sentencing Act of 2010, a law aimed at reducing sentencing disparities between crack and

powder cocaine offenses. See United States v. Wirsing, 943 F.3d 175, 178 (4th Cir. 2019) (citing

Fair Sentencing Act, Pub. L. No. 111-220, 124 Stat. 2372 (2010)). Pursuant to § 404 of the First

Step Act, a sentencing court “may . . . impose a reduced sentence as if sections 2 and 3 of the

Fair Sentencing Act of 2010 were in effect at the time the covered offense was committed.” Id. §

404(b), 132 Stat. at 5222 (citation omitted). A “covered offense” is “a violation of a Federal

criminal statute, the statutory penalties for which were modified by section 2 or 3 of the Fair

Sentencing Act of 2010, that was committed before August 3, 2010.” Id. § 404(a), 132 Stat. at

5222 (citation omitted). Section 404(c), however, provides that “[n]o court shall entertain” a



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Section 404 motion if the sentence “was previously imposed or previously reduced in accordance

with the amendments made by sections 2 and 3 of the [2010 Fair Sentencing Act].” Id. § 404(c),

132 Stat. at 5222 (citation omitted).

        On April 23, 2020, Baker filed the instant motion for imposition of a reduced sentence.

He argues that because he was convicted of a pre-August 3, 2010, “covered offense,” he is

eligible for First Step Act relief. The government does not appear to contest that Baker was

convicted of a “covered offense,” but does argue that Baker is nonetheless ineligible for relief

because he was sentenced “in accordance with” the Fair Sentencing Act amendments. The

government also argues that the 18 U.S.C. § 3553(a) factors weigh against relief.

                                              ANALYSIS

        The disagreement over whether Baker is eligible for First Step Act relief stems from the

timeline of this case. It is undisputed that Baker committed the offense conduct before the

enactment of the Fair Sentencing Act on August 3, 2010. (See PSR ¶ 1 (“[T]he offense occurred

from in or about January 2009, and continuing through in or about June 2010[.]”)). It is also

undisputed that Baker was sentenced after the enactment of the Fair Sentencing Act. At issue

here is whether Baker’s sentence “was previously imposed . . . in accordance with the

amendments made by sections 2 and 3 of the [2010 Fair Sentencing Act].” First Step Act §

404(c), 132 Stat. at 5222 (citation omitted). If it was, he is ineligible for relief.

        Baker pled guilty to one count of conspiracy to distribute and possess with intent to

distribute 50 grams or more of crack cocaine, 5 kilograms or more of cocaine, and a detectable

amount of heroin, in violation of 21 U.S.C. §§ 846 and 860. At the time Baker committed this

crime, 21 U.S.C. § 841(b)(1)(A)(iii) prescribed a mandatory minimum of ten years’

imprisonment and maximum of life imprisonment for a count of conviction involving 50 grams


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or more of crack cocaine. See 21 U.S.C. § 841(b)(1)(A)(iii) (effective through Aug. 2, 2010); see

also United States v. Gravatt, 953 F.3d 258, 261 (4th Cir. 2020). After the enactment of the Fair

Sentencing Act on August 3, 2010, however, the statutory penalties changed: the ten-year

mandatory minimum was triggered by 280 grams of crack rather than 50. See 21 U.S.C. §

841(b)(1)(A)(iii) (effective from August 3, 2010 to December 20, 2018).

       Clearly, then, Baker committed a “covered offense” within the meaning of Section

404(a). But the record is less clear about whether Baker was sentenced in accordance with the

Fair Sentencing Act amendments, which would make him ineligible for relief under Section

404(c). The PSR noted that “[t]he Government contends that the amount of drugs that was

reasonably foreseeable to the Defendant and distributed in furtherance of the conspiracy was at

least 280 grams but less than 840 grams of cocaine base,” (PSR ¶ 8), and calculated Baker’s base

offense level using the 280- to 840-gram range, (id. ¶ 13). As explained above, the post-Fair

Sentencing Act penalty for convictions involving 280 grams or more of cocaine base was a ten-

year mandatory minimum. But an exchange between the court, defense counsel, and the

government at Baker’s sentencing hearing suggests that the Baker may have been found

responsible for only 100 grams. (See Sent’g Tr. at 12:5–21, 16:11–14). If Baker was responsible

for 100 grams, not 280, a five- rather than ten-year mandatory minimum would have applied. See

21 U.S.C. § 841(b)(1)(B)(iii) (effective from August 3, 2010 to December 20, 2018). The court,

however, did not make any definitive findings on the quantity, perhaps because whether the five-

or ten-year mandatory minimum applied was largely irrelevant to the ultimate sentence imposed:

Baker’s guidelines range was driven by his status as a career offender, and the court departed

below to impose a sentence of 160 months. (ECF 777 (Judgment), 778 (Statement of Reasons)).

       Nevertheless, the court finds there is enough uncertainty in the record regarding whether



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Baker was sentenced in accordance with the Fair Sentencing Act to err on the side of finding

eligibility for First Step Act relief. Cf. United States v. Rose, 379 F. Supp. 3d 223, 229 (S.D.N.Y.

2019) (“Both the Fair Sentencing Act and the First Step Act have the remedial purpose of

mitigating the unfairness created by the crack-to-powder cocaine ratio, and the statutes should be

construed in favor of broader coverage.”).

        Eligibility for First Step Act relief, however, does not guarantee relief. In determining

whether to exercise its discretion to impose a reduced sentence, the court considers the factors set

forth in 18 U.S.C. § 3553(a). See United States v. Chambers, 956 F.3d 667, 674 (4th Cir. 2020);

see also United States v. Watts, No. CR PJM 06-036-1, 2020 WL 586811, at *3 (D. Md. Feb. 6,

2020) (collecting cases). With respect to Baker’s history and characteristics, the court notes that

Baker has a lengthy history of drug distribution convictions, (PSR ¶¶ 28–50), and regardless of

whether Baker was responsible for 100 or 280 grams of crack, this is a significant quantity and

represents a serious offense. In imposing a sentence of 160 months, which was below Baker’s

guideline range, the sentencing court found that this was the sentence that adequately reflected the

seriousness of the offense, promoted respect for the law, provided just punishment for the offense,

afforded adequate deterrence, and protected the public. (ECF 778 (Statement of Reasons)). The

court believes that 160 months remains the appropriate sentence in this case.1 Finally, while the

court acknowledges Baker’s concerns about the spread of COVID-19 in Bureau of Prisons

facilities, he has not demonstrated that he suffers from any underlying conditions that make him

particularly vulnerable to serious illness related to COVID-19. Accordingly, the court does not

find that the § 3553(a) factors weigh in favor of First Step Act relief.


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 While the court appreciates that much of Baker’s post-sentencing conduct at the Bureau of Prisons appears
positive, (see ECF 1048-2, 1048-3), he has obtained two nontrivial disciplinary infractions: one in 2015 for
possessing a homemade weapon in his cell, and another in 2019 for possessing a small amount of marijuana, (ECF
1048-1).


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                                       CONCLUSION

       For the foregoing reasons, Baker’s First Step Act motion for imposition of a reduced

sentence (ECF 1048) will be denied. A separate order follows.


 7/28/20                                                           /S/
Date                                                       Catherine C. Blake
                                                           United States District Judge




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